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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION

Heather L. Goble                           §
                                           §
vs.                                        §    NO: SA:20-CV-00243-DAE
                                           §
I.Q. Data International, Inc.              §

       ORDER FOR SCHEDULING RECOMMENDATIONS
AND ADVISORY CONCERNING MAGISTRATE JUDGE ASSIGNMENT

      At the request of the Bar, the San Antonio District Judges have
implemented a procedure whereby a Magistrate Judge is assigned to each civil
case at the time it is filed. The assignments are made randomly and are evenly
divided among the three San Antonio Magistrate Judges. If a pretrial matter is
referred by the District Judge, it will be handled by the Magistrate Judge to whom
the case was assigned.     Similarly, if the parties consent to Magistrate Judge
jurisdiction, the case will be placed on the docket of the assigned Magistrate Judge
for all future proceedings, including entry of judgment.         The United States
Magistrate Judge assigned to this case is the Honorable Elizabeth Chestney.
      In an effort to assist the parties in resolving this dispute as expeditiously and
efficiently as possible, and in accordance with Rule CV-16(c) of the Local Court
Rules of the Western District of Texas,
      IT IS HEREBY ORDERED                that the parties shall submit a proposed
scheduling order to the Court within thirty (30) days from the date of this order.
The parties shall first confer as required by Fed R. Civ. P. 26(f). The content of
the proposed scheduling order shall include proposals for all deadlines set out in
the form for scheduling order attached hereto and contained in Appendix "B" to
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the Local Rules. The parties shall endeavor to agree concerning the contents of
the proposed order, but in the event they are unable to do so, each party's position
and the reasons for the disagreement shall be included in the proposed schedule
submitted to the court. In the event the plaintiff has not yet obtained service on all
defendants, the plaintiff shall include an explanation of why all parties have not
been served. The scheduling proposals of the parties shall be considered by
the trial court, but the setting of all dates is within the discretion of the Court.
The parties shall indicate in the proposed order that they have in fact conferred as
required by the federal rules of procedure.
      The proposed scheduling order shall contain suggestions for the following
deadlines:
      1. A report on alternative dispute resolution in compliance with Local Rule
CV-88 (the standard period being 90 days after the first defendant's appearance).
      2. The parties asserting claims for relief shall submit a written offer of
settlement to opposing parties (the standard period being 90 days after the first
defendant's appearance), and each opposing party shall respond, in writing (the
standard period being 104 days after the first defendant's appearance).
      3. The parties shall file all motions to amend or supplement pleadings or to
join additional parties by (the standard period being 120 days after the first
defendant's appearance).
      4. All parties asserting claims for relief shall file their designation of
potential witnesses, testifying experts, and proposed exhibits, and shall SERVE
ON ALL PARTIES, BUT NOT FILE the materials required by Fed. R. Civ.
P. 26(a)(2)(B) by (the standard period being 90 days before the discovery
deadline). Parties resisting claims for relief shall file their designation of potential
witnesses, testifying experts, and proposed exhibits, and shall SERVE ON ALL
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PARTIES, BUT NOT FILE the materials required by Fed. R. Civ. P.
26(a)(2)(B) by (the standard period being 45 days before the close of discovery).
All designations of rebuttal experts shall be filed within 14 days of receipt of the
report of the opposing expert.
      5. An objection to the reliability of an expert's proposed testimony under
Federal Rule of Evidence 702 shall be made by motion, specifically stating the
basis for the objection and identifying the objectionable testimony, within (the
standard period being 30 days) days of receipt of the written report of the expert's
proposed testimony, or within (the standard period being 30 days) days of the
expert's deposition, if a deposition is taken, whichever is later.
      6. The parties shall complete discovery (the standard period being six
months after the first defendant's appearance).         Counsel may by agreement
continue discovery beyond the deadline, but there will be no intervention by the
Court except in extraordinary circumstances, and no trial setting will be vacated
because of information obtained in post-deadline discovery.
      7. All dispositive motions shall be filed (the standard period being 30 days
after the discovery deadline).     Dispositive motions as defined in Local Rule
CV-7(c) and responses to dispositive motions shall be limited to (the standard
page limit for this Court is 20) pages in length. The court will set a hearing on
such motions for a date after the deadline for responses and replies.
      8. This case will not be set for trial until after dispositive motions, if any,
have been ruled on. If parties elect not to file dispositive motions, they must
contact the courtroom deputy, Priscilla Springs at (210) 472-6550 ext. 5016,
or by email Priscilla_Springs@txwd.uscourts.gov, in order to set a trial date.
The Court will set the case for trial by separate order. The order will establish trial
type deadlines to include pretrial matters pursuant to Local Rule CV-16(e)-(g).
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IT IS SO ORDERED.

DATED: San Antonio, Texas, May 12, 2020.



                                 ______________________________
                                 DAVID A. EZRA
                                 SENIOR U.S. DISTRICT JUDGE
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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

Heather L. Goble                             §
                                             §
vs.                                          §   NO: SA:20-CV-00243-DAE
                                             §
I.Q. Data International, Inc.                §

                    SCHEDULING RECOMMENDATIONS
      The parties recommend that the following deadlines be entered in the
scheduling order to control the course of this case:
      1. A report on alternative dispute resolution in compliance with Local Rule
CV-88 shall be filed by ________________.

      2. The parties asserting claims for relief shall submit a written offer of
settlement to opposing parties by ________________, and each opposing party
shall respond, in writing, by            .

      3. The parties shall file all motions to amend or supplement pleadings or to
join additional parties by ________________.

      4. All parties asserting claims for relief shall file their designation of
potential witnesses, testifying experts, and proposed exhibits, and shall serve on
all parties, but not file the materials required by Fed. R. Civ. P. 26(a)(2)(B) by
______________. Parties resisting claims for relief shall file their designation of
potential witnesses, testifying experts, and proposed exhibits, and shall serve on
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all parties, but not file the materials required by Fed. R. Civ. P. 26(a)(2)(B) by
______________. All designations of rebuttal experts shall be designated within
14 days of receipt of the report of the opposing expert.

      5. An objection to the reliability of an expert's proposed testimony under
Federal Rule of Evidence 702 shall be made by motion, specifically stating the
basis for the objection and identifying the objectionable testimony, within
_____________ days of receipt of the written report of the expert's proposed
testimony, or within __________ days of the expert's deposition, if a deposition is
taken, whichever is later.

      6.       The   parties   shall   complete   all   discovery   on   or   before
________________. Counsel may by agreement continue discovery beyond the
deadline, but there will be no intervention by the Court except in extraordinary
circumstances, and no trial setting will be vacated because of information obtained
in post-deadline discovery.

      7. All dispositive motions shall be filed no later than ________________.
Dispositive motions as defined in Local Rule CV-7(c) and responses to dispositive
motions shall be limited to twenty (20) pages in length. Replies, if any, shall be
limited to ten (10) pages in length in accordance with Local Rule CV-7(e). If the
parties elect not to file dispositive motions, they must contact the courtroom
deputy on or before this deadline in order to set a trial date.

      8. If required, a hearing on dispositive motions will be set by the Court
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after all responses and replies have been filed.

      9. The Court will set the case for trial by separate order. The order will
establish trial type deadlines to include pretrial matters pursuant to Local Rule
CV-16(e)-(g).


     10. All of the parties who have appeared in the action conferred concerning
the contents of the proposed scheduling order on ________________, and the
parties have (agreed/disagreed) as to its contents. The following positions and
reasons are given by the parties for the disagreement as to the contents of the
proposed scheduling order                           . Plaintiff offers the following
explanation of why all parties have not been served                  .




                                              (Signature)


                                              (Print or type name)

                                              ATTORNEY FOR


                                              (Print or type name)



                           CERTIFICATE OF SERVICE
